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                EXHIBIT A
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                                                 U.S. Bankruptcy Court
                                      Eastern District of Pennsylvania (Philadelphia)
                                          Bankruptcy Petition #: 21-10936-amc
                                                                                        Date filed: 04/08/2021
 Assigned to: Judge Ashely M. Chan
 Chapter 15
 Voluntary


 Foreign Representative                                                   represented by TODD M. GOREN
 Wirecard AG, (Company Representative: Dr.                                               Willkie Farr & Gallagher LLP
 Michael Jaffé)                                                                          787 7th Avenue
 c/o Jeffrey Kurtzman, Esquire                                                           New York, NY 10019
 Kurtzman Steady, LLC                                                                    212-728-8000
 401 S. 2nd Street Suite 200                                                             Fax : 212-728-8111
 Philadelphia, PA 19147                                                                  Email: tgoren@willkie.com
 PHILADELPHIA-PA
 Tax ID / EIN: XX-XXXXXXX                                                               JEFFREY KURTZMAN
                                                                                        Kurtzman Steady LLC
                                                                                        555 City Avenue
                                                                                        Ste 480
                                                                                        Bala Cynwyd, PA 19004
                                                                                        215-839-1222
                                                                                        Email: Kurtzman@kurtzmansteady.com

 Foreign Representative                                                   represented by TODD M. GOREN
 Dr. Michael Jaffe                                                                       (See above for address)
 OUTSIDE U. S.
                                                                                        JOEL C. HAIMS, ESQUIRE
                                                                                        Morrison & Foerster, LLP
                                                                                        250 West 55th Street
                                                                                        New York, NY 10019

                                                                                        ANDREW KISSNER
                                                                                        Morrison & Foerster LLP
                                                                                        250 West 55th Street
                                                                                        New York, NY 10019
                                                                                        212-336-4117
                                                                                        Email: akissner@mofo.com

                                                                                        JEFFREY KURTZMAN
                                                                                        (See above for address)

                                                                                        KATHERINE RICHARDSON
                                                                                        ARNOULD, ESQUIRE
                                                                                        Morrison & Foerster, LLP
                                                                                        250 West 55th Street
                                                                                        New York, NY 10019

 U.S. Trustee                                                             represented by GEORGE M. CONWAY
 United States Trustee                                                                   DOJ-Ust
 Office of United States Trustee                                                         900 Market Street
 Robert N.C. Nix Federal Building                                                        Robert N Nix Federal Building
https://ecf.paeb.uscourts.gov/cgi-bin/DktRpt.pl?450304575933184-L_1_0-1                                                  1/7
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 900 Market Street                                                   Suite 320
 Suite 320                                                           Philadelphia, PA 19107
 Philadelphia, PA 19107                                              215-597-8418
 (215)597-4411                                                       Email: george.m.conway@usdoj.gov

                                                                                       JOHN HENRY SCHANNE
                                                                                       DOJ-Ust
                                                                                       Office of The United States Trustee
                                                                                       Robert N.C. Nix Federal Building
                                                                                       900 Market Street, Suite 320
                                                                                       Philadelphia, PA 19107
                                                                                       202-934-4154
                                                                                       Email: John.Schanne@usdoj.gov


    Filing Date                           #                                             Docket Text

                                       1                        Chapter 15 Petition for Recognition of Foreign Proceeding.
                                       (3 pgs)                  Fee Amount $1738 Filed by Dr. Michael Jaffe. (KURTZMAN,
   04/08/2021                                                   JEFFREY) (Entered: 04/08/2021)

                                                                Receipt of Petition Foreign Proceeding (Chapter 15)( 21-
                                                                10936) [misc,petfp15] (1738.00) Filing Fee. Receipt number
                                                                AXXXXXXXX. Fee Amount $1738.00. (re: Doc# 1) (U.S.
   04/08/2021                                                   Treasury) (Entered: 04/08/2021)

                                       2                        Support Document VERIFIED PETITION FOR
                                       (39 pgs)                 RECOGNITION OF A FOREIGN MAIN PROCEEDING AND
                                                                APPLICATION FOR RELATED RELIEF, AND
                                                                MEMORANDUM OF LAW IN SUPPORT THEREOF Filed by
                                                                JEFFREY KURTZMAN on behalf of Dr. Michael Jaffe
                                                                (related document(s)1). (KURTZMAN, JEFFREY) (Entered:
   04/08/2021                                                   04/08/2021)

                                       3                        Declaration re: DECLARATION OF TODD M. GOREN IN
                                       (38 pgs)                 SUPPORT OF CHAPTER 15 PETITION FOR
                                                                RECOGNITION AS FOREIGN MAIN PROCEEDING Filed by
                                                                JEFFREY KURTZMAN on behalf of Dr. Michael Jaffe
                                                                (related document(s)2, 1). (KURTZMAN, JEFFREY)
   04/08/2021                                                   (Entered: 04/08/2021)

                                       4                        Declaration re: DECLARATION OF STEPHAN MADAUS
                                       (102 pgs)                PURSUANT TO 28 U.S.C. §1746 Filed by JEFFREY
                                                                KURTZMAN on behalf of Dr. Michael Jaffe (related
                                                                document(s)2, 1). (KURTZMAN, JEFFREY) (Entered:
   04/08/2021                                                   04/08/2021)

   04/08/2021                          5                        Declaration re: DECLARATION OF RECHTSANWALT PROF.
                                       (36 pgs)                 DR. CHRISTIAN C.-W. PLEISTER IN SUPPORT OF
                                                                VERIFIED PETITION FOR RECOGNITION OF A FOREIGN
                                                                MAIN PROCEEDING AND APPLICATION FOR RELATED
                                                                RELIEF Filed by JEFFREY KURTZMAN on behalf of Dr.

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                                               Michael Jaffe (related document(s)2, 1). (KURTZMAN,
                                               JEFFREY) (Entered: 04/08/2021)

                                       6                        Application For Order Scheduling Hearing and Specifying the
                                       (16 pgs)                 Form and Manner of Service of Notice. Filed by Dr. Michael
                                                                Jaffe Represented by JEFFREY KURTZMAN (Counsel).
   04/08/2021                                                   (KURTZMAN, JEFFREY) (Entered: 04/08/2021)

                                       7                        Notice of Appearance and Request for Notice by JEFFREY
                                       (2 pgs)                  KURTZMAN Filed by JEFFREY KURTZMAN on behalf of
                                                                Dr. Michael Jaffe. (KURTZMAN, JEFFREY) (Entered:
   04/08/2021                                                   04/08/2021)

                                       8                        Notice of Appearance and Request for Notice by Andrew
                                       (2 pgs)                  Kissner, Esquire by JEFFREY KURTZMAN Filed by
                                                                JEFFREY KURTZMAN on behalf of Dr. Michael Jaffe.
   04/08/2021                                                   (KURTZMAN, JEFFREY) (Entered: 04/08/2021)

                                       9                        Notice of Appearance and Request for Notice by Katherine
                                       (2 pgs)                  Richardson Arnould, Esquire by JEFFREY KURTZMAN Filed
                                                                by JEFFREY KURTZMAN on behalf of Dr. Michael Jaffe.
   04/08/2021                                                   (KURTZMAN, JEFFREY) (Entered: 04/08/2021)

                                       10                       Notice of Appearance and Request for Notice Todd M. Goren,
                                       (2 pgs)                  Esquire by JEFFREY KURTZMAN Filed by JEFFREY
                                                                KURTZMAN on behalf of Dr. Michael Jaffe. (KURTZMAN,
   04/08/2021                                                   JEFFREY) (Entered: 04/08/2021)

                                       11                       Notice of Appearance and Request for Notice by JOHN
                                       (1 pg)                   HENRY SCHANNE Filed by JOHN HENRY SCHANNE on
                                                                behalf of United States Trustee. (SCHANNE, JOHN) (Entered:
   04/08/2021                                                   04/08/2021)

                                       12                       Motion to Appear pro hac vice on behalf of Andrew Kissner,
                                       (5 pgs; 3 docs)          Esquire Filed by Dr. Michael Jaffe Represented by JEFFREY
                                                                KURTZMAN (Counsel). (Attachments: # 1 Kissner
                                                                Declaration # 2 Proposed Order) (KURTZMAN, JEFFREY)
   04/08/2021                                                   (Entered: 04/08/2021)

                                       13                       Motion to Appear pro hac vice on behalf of Todd M. Goren,
                                       (5 pgs; 3 docs)          Esquire Filed by Dr. Michael Jaffe Represented by JEFFREY
                                                                KURTZMAN (Counsel). (Attachments: # 1 Declaration # 2
                                                                Proposed Order) (KURTZMAN, JEFFREY) (Entered:
   04/08/2021                                                   04/08/2021)

                                       14                       Motion to Appear pro hac vice on behalf of Katherine
                                       (5 pgs; 3 docs)          Richardson Arnould, Esquire Filed by Dr. Michael Jaffe
                                                                Represented by JEFFREY KURTZMAN (Counsel).
                                                                (Attachments: # 1 Declaration # 2 Proposed Order)
   04/08/2021                                                   (KURTZMAN, JEFFREY) (Entered: 04/08/2021)


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                                       15                       Motion to Appear pro hac vice on behalf of Joel C. Haims,
                                       (5 pgs; 3 docs)          Esquire Filed by Dr. Michael Jaffe Represented by JEFFREY
                                                                KURTZMAN (Counsel). (Attachments: # 1 Declaration # 2
                                                                Proposed Order) (KURTZMAN, JEFFREY) (Entered:
   04/08/2021                                                   04/08/2021)

                                       16                       Motion for Preliminary Injunction Filed by Dr. Michael Jaffe
                                       (25 pgs; 3 docs)         Represented by JEFFREY KURTZMAN (Counsel).
                                                                (Attachments: # 1 Exhibit A # 2 Exhibit B) (KURTZMAN,
   04/08/2021                                                   JEFFREY) (Entered: 04/08/2021)

                                       17                       Motion to Expedite Hearing (related documents Motion for
                                       (7 pgs; 3 docs)          Preliminary Injunction) Filed by Dr. Michael Jaffe Represented
                                                                by JEFFREY KURTZMAN (Counsel) (related
                                                                document(s)16). (Attachments: # 1 Proposed Order # 2 Cert of
   04/08/2021                                                   Service) (KURTZMAN, JEFFREY) (Entered: 04/08/2021)

                                                                Notice of clerks office modification re. the docket. Corrected
                                                                the name of the Foreign Representative from Dr. Michael Jaffe
                                                                to Wirecard AG, (Company representative: Dr. Michael Jaffe)
   04/08/2021                                                   (related document(s)1). (C., Rochelle) (Entered: 04/08/2021)

                                       18                       Order Granting Motion Expedite Hearing (Related Doc # 17)
                                       (2 pgs)                  In Re: (16 Motion for Preliminary Injunction) Hearing
                                                                scheduled 4/13/2021 at 03:00 PM at Philadelphia Video
                                                                Hearing. Any party wishing to use or offer into evidence during
                                                                the hearing any documents that have not been previously filed
                                                                on the court docket shall provide the Courtroom Deputy with
                                                                an electronic copy of the documents by e-mailing them to her
                                                                at Pamela_Blalock@paeb.uscourts.gov. no later than 1:00 p.m.
                                                                on April 13, 2021.The Movant shall serve the Motion and this
                                                                Order by overnight mail, facsimile transmission or e-mail
                                                                transmission no later than 5:00 p.m. on April 9, 2021 on all
                                                                known U.S. creditors and parties in interest, including counsel
                                                                for the Securities Plaintiffs (as defined in the Application), and
                                                                the Office of the United States Trustee. (W., Christine)
   04/08/2021                                                   (Entered: 04/08/2021)

                                       19                       Order Scheduling Hearing 6 and Specifying the Form and
                                       (6 pgs)                  Manner of Service of Notice.. Hearing scheduled 5/6/2021 at
                                                                10:00 AM at Philadelphia Video Hearing.On or before April
                                                                12, 2021, the Petitioner shall serve copies of the (i) Notice,
                                                                (ii)Official Form of Chapter 15 Petition, and (iii) the Petition
                                                                (together with the proposed order granting the relief requested
                                                                in the Petition) by United States mail, first-class postage upon
                                                                parties specified on Fed. R. Bankr. P. 2002(q)(1). On or before
                                                                April 12, 2021, the Petitioner shall effect notice by publication,
                                                                in accordance with Bankruptcy Rules 1010, 9007 and 9008, in
                                                                the international edition of the Financial Times, and the
                                                                national edition of The Wall Street Journal. (W., Christine)
   04/08/2021                                                   (Entered: 04/08/2021)


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                                       20                       Order Granting Motion for Admission of Andrew Kissner,
                                       (1 pg)                   Esquire Pro Hac Vice pursuant to Local Rule of Bankruptcy
                                                                Procedure 2090-1(c). (Related Doc # 12) (S., Antoinette)
   04/08/2021                                                   (Entered: 04/08/2021)

                                       21                       Order Granting Motion for Admission of Todd M. Goren,
                                       (1 pg)                   Esquire Pro Hac Vice pursuant to Local Rule of Bankruptcy
                                                                Procedure 2090-1(c). (Related Doc # 13) (S., Antoinette)
   04/08/2021                                                   (Entered: 04/08/2021)

                                       22                       Order Granting Motion for Admission of Katherine Richardson
                                       (1 pg)                   Arnould, Esquire Pro Hac Vice pursuant to Local Rule of
                                                                Bankruptcy Procedure 2090-1(c). (Related Doc # 14) (S.,
   04/08/2021                                                   Antoinette) (Entered: 04/08/2021)

                                       23                       Order Granting Motion for Admission of Joel C. Haims,
                                       (1 pg)                   Esquire Pro Hac Vice pursuant to Local Rule of Bankruptcy
                                                                Procedure 2090-1(c). (Related Doc # 15) (S., Antoinette)
   04/08/2021                                                   (Entered: 04/08/2021)

                                       24                       Proposed Consent Order RE: JOINT STIPULATION AND
                                       (6 pgs)                  AGREED ORDER (I) STAYING THE SECURITIES
                                                                LITIGATION WITH RESPECT TO THE DEBTOR AND (II)
                                                                ADJOURNING CONSIDERATION OF MOTION FOR A
                                                                PRELIMINARY INJUNCTION Filed by JEFFREY
                                                                KURTZMAN on behalf of Dr. Michael Jaffe (related
                                                                document(s)16). (KURTZMAN, JEFFREY) (Entered:
   04/12/2021                                                   04/12/2021)

                                       25                       Certificate of Service Filed by JEFFREY KURTZMAN on
                                       (5 pgs)                  behalf of Dr. Michael Jaffe (related document(s)6, 16).
   04/12/2021                                                   (KURTZMAN, JEFFREY) (Entered: 04/12/2021)

                                       26                       Hearing on Motion for Preliminary Injunction Filed by Dr.
                                                                Michael Jaffe Represented by JEFFREY KURTZMAN
                                                                (Counsel) filed by Foreign Representative Wirecard AG
                                                                Cancelled. Reason for Cancellation: joint stip. and agreed order
                                                                filed. (related document(s)16). (B., Pamela) (Entered:
   04/13/2021                                                   04/13/2021)

                                       27                       Joint Stipulation and Agreed Order (I) Staying the Securities
                                       (6 pgs)                  Litigation with respect to the Debtor and (II) Adjourning
                                                                Consideration of Motion for a Preliminary Injunction. (related
   04/13/2021                                                   document(s)16). (S., Antoinette) (Entered: 04/13/2021)

                                       28                       Affidavit Re: Publication Filed by JEFFREY KURTZMAN on
                                       (2 pgs)                  behalf of Dr. Michael Jaffe (related document(s)19).
   04/13/2021                                                   (KURTZMAN, JEFFREY) (Entered: 04/13/2021)

   04/13/2021                          29                       Affidavit Re: Publication Filed by JEFFREY KURTZMAN on
                                       (2 pgs)                  behalf of Dr. Michael Jaffe (related document(s)19).

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                                               (KURTZMAN, JEFFREY) (Entered: 04/13/2021)

                                       30                       Clerk's Certificate of Mailing. (related document(s)27). (S.,
   04/20/2021                          (6 pgs)                  Antoinette) (Entered: 04/20/2021)

                                                                Receipt Number PPE226734, Fee Amount $40.00 (related
   04/22/2021                                                   document(s)12). (R., Yvette) (Entered: 04/22/2021)

                                                                Receipt Number PPE226734, Fee Amount $40.00 (related
   04/22/2021                                                   document(s)13). (R., Yvette) (Entered: 04/22/2021)

                                                                Receipt Number PPE226734, Fee Amount $40.00 (related
   04/22/2021                                                   document(s)14). (R., Yvette) (Entered: 04/22/2021)

                                                                Receipt Number PPE226734, Fee Amount $40.00 (related
   04/22/2021                                                   document(s)15). (R., Yvette) (Entered: 04/22/2021)

                                       31                       BNC Certificate of Mailing - PDF Document. (related
                                       (8 pgs)                  document(s) (Related Doc # 30)). No. of Notices: 6. Notice
   04/22/2021                                                   Date 04/22/2021. (Admin.) (Entered: 04/23/2021)

                                       32                       Amended Notice of Appearance and Request for Service of
                                       (2 pgs)                  Papers for Todd Goren appearing for Michael Jaffe, as
                                                                insolvency administrator Filed by JEFFREY KURTZMAN on
                                                                behalf of Dr. Michael Jaffe (related document(s)10).
   05/04/2021                                                   (KURTZMAN, JEFFREY) (Entered: 05/04/2021)

                                       33                       Document in re: Witness and Exhibit List for May 6, 2021
                                       (2 pgs)                  Recognition Hearing Filed by JEFFREY KURTZMAN on
                                                                behalf of Dr. Michael Jaffe (related document(s)2).
   05/04/2021                                                   (KURTZMAN, JEFFREY) (Entered: 05/04/2021)

                                       34                       Hearing Held on 6 Application For Order Scheduling Hearing
                                                                and Specifying the Form and Manner of Service of Notice.
                                                                Filed by Dr. Michael Jaffe Represented by JEFFREY
                                                                KURTZMAN (Counsel). filed by Foreign Representative
                                                                Wirecard AG (related document(s),6). Order entered. (B.,
   05/06/2021                                                   Pamela) (Entered: 05/06/2021)

                                       35                       Order Granting Recognition and Relief in Aid of a Foreign
                                       (5 pgs)                  Main Proceeding pursuant to Sections 1504, 1509, 1515, 1517,
                                                                1520 and 1521 of the Bankruptcy Code. (Related Doc # 6) (S.,
   05/06/2021                                                   Antoinette) (Entered: 05/06/2021)

                                       36                       Order Entered Reassigning Case to Judge Ashely M. Chan.
                                       (1 pg)                   Involvement of Judge Eric L. Frank Terminated. (B., John)
   02/28/2023                                                   (Entered: 02/28/2023)

                                       37                       BNC Certificate of Mailing - PDF Document. (related
                                       (3 pgs)                  document(s) (Related Doc # 36)). No. of Notices: 7. Notice
   03/02/2023                                                   Date 03/02/2023. (Admin.) (Entered: 03/03/2023)

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                                       38                        ENTRY OF APPEARANCE AND REQUEST FOR
                                                                 NOTICES, pursuant to Federal Bankruptcy Rules 2002 and
                                                                 9010, GEORGE M. CONWAY hereby appears in this matter
                                                                 on behalf of the United States trustee for Region 3, and
                                                                 demands that all notices, motions, etc., given or required to be
                                                                 given in this case, and that all papers, etc., served in this case,
                                                                 be given to and served upon me at the address listed on this
                                                                 case party list. Filed by GEORGE M. CONWAY on behalf of
                                                                 United States Trustee. (CONWAY, GEORGE) (Entered:
   03/08/2023                                                    03/08/2023)




                                                        PACER Service Center
                                                            Transaction Receipt
                                                               06/08/2023 08:54:34
                                   PACER                          Client
                                                   jacobgelman                200115-00001
                                   Login:                         Code:
                                                                              21-10936-amc Fil or Ent: filed
                                                                              Doc From: 0 Doc To: 99999999
                                                   Docket         Search
                                   Description:                               Term: included Format: html
                                                   Report         Criteria:
                                                                              Page counts for documents:
                                                                              included
                                   Billable
                                                   5              Cost:       0.50
                                   Pages:




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